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                                   UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF FLORIDA
                                         TALLAHASSEE DIVISION
IN RE: RANALLO, BRIAN                                           CASE NO: 18-40390-KKS
       RANALLO, MARY                                            DECLARATION OF MAILING
                                                                CERTIFICATE OF SERVICE
                                                                Chapter: 7




On 6/27/2019, I did cause a copy of the following documents, described below,
CHAPTER 7 TRUSTEE'S MOTION TO (I) APPROVE A SHORT SALE OF REAL PROPERTY FREE AND CLEAR OF
LIENS, CLAIMS, ENCUMBRANCES, AND INTERESTS PURSUANT TO 11 U.S.C. § 363 (b),(f) and (m), (II) SURCHARGE
AGREEMENT BETWEEN SECURED LENDER AND THE ESTATE, AND (III




to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.
Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.
Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically with the documents described herein per the ECF/PACER system.
DATED: 6/27/2019
                                                          /s/ Mary W. Colon, Chapter 7 Trustee
                                                          Mary W. Colon, Chapter 7 Trustee
                                                          Mary W. Colon, Trustee
                                                          P O Box 14596
                                                          Tallahassee, FL 32317
                                                          850 241 0144
                               Case 18-40390-KKS              Doc 38        Filed 06/27/19        Page 27 of 29




                                        UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF FLORIDA
                                              TALLAHASSEE DIVISION
 IN RE: RANALLO, BRIAN                                                  CASE NO: 18-40390-KKS
        RANALLO, MARY
                                                                        CERTIFICATE OF SERVICE
                                                                        DECLARATION OF MAILING
                                                                        Chapter: 7




On 6/27/2019, a copy of the following documents, described below,

CHAPTER 7 TRUSTEE'S MOTION TO (I) APPROVE A SHORT SALE OF REAL PROPERTY FREE AND CLEAR OF LIENS,
CLAIMS, ENCUMBRANCES, AND INTERESTS PURSUANT TO 11 U.S.C. § 363 (b),(f) and (m), (II) SURCHARGE AGREEMENT
BETWEEN SECURED LENDER AND THE ESTATE, AND (III




were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient postage thereon
to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above referenced document
(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is true and correct to
the best of my knowledge, information, and belief.

DATED: 6/27/2019




                                                                            Jay S. Jump
                                                                            BK Attorney Services, LLC
                                                                            d/b/a certificateofservice.com, for
                                                                            Mary W. Colon, Chapter 7 Trustee
                                                                            Mary W. Colon, Trustee
                                                                            P O Box 14596
                                                                            Tallahassee, FL 32317
                        Case 18-40390-KKS
PARTIES DESIGNATED AS "EXCLUDE"                   Doc
                                WERE NOT SERVED VIA    38FIRST
                                                    USPS     Filed 06/27/19
                                                               CLASS MAIL      Page 28 of 29
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

CASE INFO                                BK GLOBAL REAL ESTATE SERVICES           FLORIDA STATE UNIVERSITY CREDIT UNION
1LABEL MATRIX FOR LOCAL NOTICING         1095 BROKEN SOUND PARKWAY SUITE 200      CO J BLAIR BOYD
11294                                    BOCA RATON FL 33487-3503                 POST OFFICE BOX 3637
CASE 18-40390-KKS                                                                 TALLAHASSEE FL 32315-3637
NORTHERN DISTRICT OF FLORIDA
TALLAHASSEE
THU JUN 27 11-56-58 EDT 2019



KELLER WILLIAMS TOWN AND COUNTRY         NATIONSTAR MORTGAGE LLC DBA MR COOPER    NATIONSTAR MORTGAGE LLC DBA MR COOPER
REALTY INC                               ROBERTSON ANSCHUTZ AND SCHNEID PL        CO ROBERTSON ANSCHUTZ AND SCHNEID
ATTN SARAH GRANGER HENNING AGENT         6409 CONGRESS AVENUE SUITE 100           6409 CONGRESS AVENUE
1520 KILLEARN CENTER BOULEVARD           BOCA RATON FL 33487-2853                 SUITE 100
SUITE 100                                                                         BOCA RATON FL 33487-2853
TALLAHASSEE FL 32309-3700




PRA RECEIVABLES MANAGEMENT LLC           SMITH THOMPSON SHAW MINACCI AND COLON    AMERICAN EXPRESS
PO BOX 41021                             PA                                       ATTN BANKRUPTCY LITIGATION OFFICER
NORFOLK VA 23541-1021                    3520 THOMASVILLE ROAD                    PO BOX 981535
                                         FOURTH FLOOR                             EL PASO TX 79998-1535
                                         TALLAHASSEE FL 32309-3478




AMERICAN EXPRESS NATIONAL BANK           ATTORNEY GENERAL OF THE UNITED STATES    CAPITAL CITY BANK
CO BECKET AND LEE LLP                    950 PENNSYLVANIA AVE NW                  ATTN BANKRUPTCY LITIGATION OFFICER
PO BOX 3001                              WASHINGTON DC 20530-0009                 PO BOX 900
MALVERN PA 19355-0701                                                             TALLAHASSEE FL 32302-0900




CAPITAL ONE                              CAPITAL ONE BANK USA NA                  CHASEJP MORGAN CHASE
ATTN BANKRUPTCY LITIGATION OFFICER       PO BOX 71083                             ATTN BANKRUPTCY LITIGATION OFFICER
PO BOX 30285                             CHARLOTTE NC 28272-1083                  PO BOX 15298
SALT LAKE CITY UT 84130-0285                                                      WILMINGTON DE 19850-5298




CITIBANK NA                              CITIBANK NA                              CITIBANK NA
ATTN BANKRUPTCY LITIGATION OFFICER       ATTN BANKRUPTCY LITIGATION OFFICER       ATTN BANKRUPTCY LITIGATION OFFICER
701 E 60TH STREET NORTH                  PO BOX 6062                              PO BOX 6500
MAIL CODE 1251                           SIOUX FALLS SD 57117-6062                SIOUX FALLS SD 57117-6500
SIOUX FALLS SD 57104-0432




CITIBANK NA                              DORIS MALOY LEON COUNTY TAX COLLECTOR    FSU CREDIT UNION
ATTN BANKRUPTCY LITIGATION OFFICER       ATTN TAX ADMINISTRATION DEPARTMENT       ATTN BANKRUPTCY LITIGATION OFFICER
PO BOX 790046                            POST OFFICE BOX 1835                     2806 SHARER RD
SAINT LOUIS MO 63179-0046                TALLAHASSEE FL 32302-1835                TALLAHASSEE FL 32312-2100




FIRST COMMERCE CREDIT UNION              FREEDOM MORTGAGE                         GREAT LAKES
ATTN BANKRUPTCY LITIGATION OFFICER       ATTN BANKRUPTCY DEPARTMENT               ATTN BANKRUPTCY LITIGATION OFFICER
PO BOX 6416                              PO BOX 619063                            PO BOX 7860
TALLAHASSEE FL 32314-6416                DALLAS TX 75261-9063                     MADISON WI 53707-7860




INTERNAL REVENUE SERVICE                 MR COOPER                                PYOD LLC
CENTRALIZED INSOLVENCY OPERATIONS        ATTN BANKRUPTCY DEPARTMENT               RESURGENT CAPITAL SERVICES
PO BOX 7346                              8950 CYPRESS WATERS BLVD                 PO BOX 19008
PHILADELPHIA PA 19101-7346               COPPELL TX 75019-4620                    GREENVILLE SC 29602-9008
                        Case 18-40390-KKS
PARTIES DESIGNATED AS "EXCLUDE"                   Doc
                                WERE NOT SERVED VIA    38FIRST
                                                    USPS     Filed 06/27/19
                                                               CLASS MAIL      Page 29 of 29
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

REGIONS BANK                             SYNCHRONY BANK                           SYNCHRONY BANK
ATTN BANKRUPTCY LITIGATION OFFICER       ATTN BANKRUPTCY DEPARTMENT               CO PRA RECEIVABLES MANAGEMENT LLC
PO BANK 1984                             PO BOX 965061                            PO BOX 41021
BIRMINGHAM AL 35201-1984                 ORLANDO FL 32896-5061                    NORFOLK VA 23541-1021




US BANK NA DBA ELAN FINANCIAL SERVICES   UNITED STATES DEPARTMENT OF EDUCATION    UNITED STATES ATTORNEY
BANKRUPTCY DEPARTMENT                    CLAIMS FILING UNIT                       21 EAST GARDEN STREET
PO BOX 108                               PO BOX 8973                              PENSACOLA FL 32502-5676
ST LOUIS MO 63166-0108                   MADISON WI 53708-8973




UNITED STATES TRUSTEE                    WELLS FARGO BANK NA                      WELLS FARGO BANK NA WELLS FARGO CARD
110 E PARK AVENUE                        WELLS FARGO HOME MORTGAGE                SER
SUITE 128                                ATTN- BANKRUPTCY LITIGATION OFFICER      PO BOX 10438 MAC F823502F
TALLAHASSEE FL 32301-7728                PO BOX 10335                             DES MOINES IA 50306-0438
                                         DES MOINES IA 50306-0335




                                         DEBTOR
ALLEN TURNAGE                                                                     MARY CYNTHIA RANALLO
ALLEN TURNAGE PA                         BRIAN WALTER RANALLO                     3513 KILKENNY DRIVE EAST
PO BOX 15219                             3513 KILKENNY DRIVE EAST                 TALLAHASSEE FL 32309-3110
2344 CENTERVILLE ROAD SUITE 101          TALLAHASSEE FL 32309-3110
TALLAHASSEE FL 32308-4389




MARY W COLON
PO BOX 14596
TALLAHASSEE FL 32317-4596
